Case 1-Ly-4095/-cec Docll Filed Vs/li/ly Entered Qofli/iy 14741710

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

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In re
Case No. 19-40997

Raymond H Rufen-Blanchette
Chapter 13
Debtor(s).

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AFFIRMATION IN OPPOSITION TO THE ORDER TO SHOW CAUSE
FILED BY SAMDAI RAMHARRACK

JOHN WEBER, an attorney duly admitted to practice before this Court affirms the following:

i. The Movant, Samdai Ramharrack, filed an Order to Show Cause indicating that she had a
judgment of possession and therefore there was no stay in effect. She indicated that the Debtor,
Raymond H Rufen-Blanchette was a “squatter” and filed a bankruptcy to delay an eviction of the

Debtor from the property located at 149-32 83 Street, Howard Beach NY 11414.

2. Samdai Ramharrack is not the landlord of the Debtor but is the Trustee of The Blanchette
Family Real Property Trust. And Samdai Ramharrack was appointed as the Trustee by the Debtor

for the Trust.

x The property located at 149-32 83" Street, Howard Beach NY 11414 is part of the corpus

of the Trust of which the Debtor is a beneficiary.

4. Since Samdai Ramharrack was appointed as Trustee of The Blanchette Family Real
Property Trust, there have been a number of questionable transactions that the Movant has made
as Trustee. There have been a number of transfers of the property as wells as loans taken out

against the property.

 
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LIST OF QUESTIONABLE TRANSFERS

5. The most recent of these questionable transfers occurred on February 21, 2019, when
Shirley Perkins transferred the property to Samdai Ramharrack. This was the same day as the
Debtor filed a Chapter 13 petition. And the Debtor did not file a Chapter 13 to stop the eviction,

but rather filed the petition to stop a foreclosure sale of the property.

6. Prior to that, on March 5, 2018, God's Divine Prayer Tabernacle and Shirley Perkins

transferred the property to Shirley Perkins.

7. Prior to that, on October 20, 2017, KC 4 Progressive Development LLC transferred the
property to God’s Divine Prayer Tabernacle and Shirley Perkins,

8. Prior to that, on May 10, 2013, 2017, God’s Divine Prayer Tabernacle and Shirley Perkins

transferred the property to KC 4 Progressive Development LLC.

9, Prior to that, on January 18, 2011, the Movant transferred the property to God's Divine

Prayer Tabernacle and Shirley Perkins, 2017, God’s Divine Prayer Tabernacle and Shirley Perkins.

10. Now after all the transfers over the last few years, the property ts back in the name of

Samdai Ramharrack.

11. The allegation that Samdai Ramharrack has a judgment of possession doesn’t seem
plausible since she did not own the property until February 21, 2019, and the deed was not recorded
until February 28, 2019.

12. Notwithstanding, clearly, there has been a pattern of very suspicious actions having been

made by the Movant.

WHEREFORE, it is respectfully requested that the relief being sought by the Movant be

denied and for such other and further relief as this court deems just and proper.

 
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Dated: Babylon, New York
March 11, 2019

 

 
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DECLARATION OF NOMINEE TRUST

FOR THE

ETTE FAMILY REAL. PROPERTY TRUST

THE BLANCH

JUNE 30, 2006

E
SAMDAI M. RAMHARRACK, TRUSTE

 
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SCHEDULE ‘EB’

BENEFICIARY

nd H. Rufen-Blanchette

* Dr. Raymo Family Revocable Living Trust

The Rufen-Bla neohette
EIN: XX-XXXXXXX

 
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THIS INDENTURE, made the 217 day of FEBRUARY in the year 2019

BETWEEN
SHIRLEY PERKINS A/K/A SHIRLEY PARKINS with an address af 132-25 Avery Avenue, Flushing N'Y 11345

party of the first part, and SAMDAI M. RAMHARRLACK, with an address at 149-32 63" Street, Howard Beach NY
114]

party of the second part,

WITNESSETH, that the party of the first purt, in consideration of Tea Dollars paid by the party of the second part,
does hereby remise, release and quitelaim unto the party of the second part, the heirs or successors and assigns of the
party of the second part forever,

ALL that ceriain plot, piece of parcel of land, with the buildings and improvements thereon erected, situate,
hing and being in the

(SEE SCHEDULE A ATTACHED)

Said Premises also known as 149-32 23RD Street, Howard Beach NY¥ 11414
Bloc: 114)4 Lot 24

Being and intended to be suid Premises conveyed to Party of the first part by deed dated 01/05/2018 recorded
03/18/2018 in CRN 2018000090790 in the Office of the City Register of Queens County.

TOGETHER with all right, tithe and interest, if any, of the party of the fir part of, in and to any sireets
and roads abutting the ebowe-deseribed premises to the center lines thereof TOGETHER with the appurtenances and
all the estave and rights of the party of the firm part in and to aaid premises; TO HAVE AND TO
HOLD the premises herein granted unto the party of the seeund part, the heirs or seccessors and assigns of the
party of the second part forever.

AND the pany of the first part, ia compliance with Section 13 of the Lien Low, covenants that the pary of
the first part will receive the consideration for this conveyance and will hold the right to receive such con-
sideration as a trust fund w be applied first for the purpose of paying the cost of the improvement and will
apply the same first to the payment of the cost of the improvement befare using any part of the total of the same
for any aiher purpose,

The word “party” shall be construed as if it read “purtics" whenever the sense of this indenture 80 requires.

IN WITNESS WHEREOF, the party of the first part has duly executed this deed the day and year first above
‘writen.

IN PRESENCE OF: wy

| * Fairey oe AJK/A SHIRLEY PARKING
rl

 

 

 

 

 

 
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THIS INDENTURE, mada the 05 day ol MARCH » Zoe

BETWEEN

GOD'S DIVINE PRAYER JABERNICLE and SHIRLEY PARKINS
132-25 AVERY AVENUE, FLUSHING NY 11355

party of the fest part, and

SHIRLEY PARKINS
132-25 AVERY AVENUE, FLUSHING NV 11355 oH ‘ eh, '

the party of the fret part, in consideration of : a
WITHESSETH irre eacond pert, doen hereby remies release and qulcii vin he party of We #208
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ALL thal certain plot, place of parcal of land, with the bulldings and Improvements theroon erected, Sti

| County of Queens, City and State of New York, bounded and described as follows;
| See Atlached Schedule "A" for more description.

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Said Promises Known by tne Street No ts; 149-32 83rd STREET, Howard Beach Ned My
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*
SHIRLEY PA

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Form 2216

 
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CONSULT TOUR LAWYER BEFORE UGAENG Tus DISTRUMENT-THaS INSTRUMENT SHOULD BE USED BY LAWYERS OnLy

THIS INDENTURE, mace the 20 day of OCTOBER » 2017

BETWEEN

KC 4 PROGRESSIVE DEVELOPMENT LLC
149-32 83rd STREET, HOWARD BEACH NEW YORK

party of the first part, and

GOD'S DIVINE PRAYER TABERNICLE and SHIRLEY PARKINS
132-25 AVERY AVENUE, FLUSHING NY 19955 s

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WITNESSETH, that the party of the first pact, in consideration of
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lying ana beang en the

County of Queens, City and Stale of New York. bounded and described as follows:

See Attached Schedule "A" for more cascnpGan.

Said Premises Known by the Street No te 14-42 Gard STREET.

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KE 4 DEVELOPMENT PROCRESSIVE LLC
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Form 2216
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THIS INDENTURE, made this 10th day in May, Two thousand Thirteen
BETWEEN

SHIRLEY PERKINS AND GOD'S DIVINE PRAYER TABERNACLE il,
suecessors/ assigns having and address at 149-32 93" Street Howard Beach New

York state, party of the first part, and

KC 4 PROGRESSIVE DEVELOPMENT, LLC, located at 107-01 Rockaway Blvd.
Ozone Park New York state (11417), party of second part.

WITNESSETH, that the party of the first part, by their Authorized Representative,
SHIRLEY PERKINS, in 4 particular course of all-around consent, and in
consideration of an Endowment and other valuable consideration of Good will given
by the party of the second part, the trustees, heirs, executor, administrator,
successors and assigns of the party of the second part, grants forever;

ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND WITH THE
BUILDINGS AND IMPROVEMENTS THEREON ERECTED, SITUATE, LYING
AND BEING IN Queens COUNTY, AND NEW YORK state, KNOWN AND
DESIGNATED AS:

ALL that certain plot; piece or parce! of land with the building and
improvements thereon erected , situate,, lying and being in Queens County
New York state, certain Real property bounded and designated as follows:

SEE SCHEDULE “A” ATTACHED HERETO AND MADE A PART HEREOF

Said premises being known as 149 -32 83 Street Howard Beach, New Fork sizte.
Conveyed by deed recorded 02-22-2011 CRFN: 201 1000084020.

The within conveyance is made in the course of granting a bona fide gift'endowment
to the party of the second part,

SUBJECT to all easements, restrictions, and rights of way of record.

TOGETHER with all rights, title and interest, if any, of the party of the first part in
and to any street and rouds abutting the above-described premises to the center
lines thereof; TOGETHER with the appurtenance, encumbrances, and all the estate
and rights of the party of the first in an to said premises; TO HAVE AND TO
HOLD the premises herein granted unto the party of second part, the trustees, heirs
or successors and assign of the party of the second part forever.

AND the party of the first part covenants that the party of he first part had not done
or suffered anything whereby the said premises have been encumbered in any way

whatever, except as aforesaid. ALL PERSON OR PERSONS, TRESPASSERS, NON-PAYING OCCUPANTS OF SAD
PROPERTY SHALL VACATE WITHIN 39 DAYS. NO PART OF THIS INSTURMENT CAN BE CHANGED OR ALTERED BY ANY OF THE PARTY
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THIS INDENTURE, made on | OF THhuwer 2 oll
BETWEEN SAMDA] M. RAMHARRACK

RESIDING AT 175 WILLOUGHBY STREET, BROOKLYN, NEW YORK
11207

pasty of the first part, and ,
SHIRLEY PERKINS AND GOU'S DIVINE PRAYER TABERNACLE 11
PROPERTY LOCATED AT 149-32 83rd STREET. HOWARD BEACH,
NEW YORK 11414. ;
ae ae RESIDING AT 113 GRAY LANE,HUEYTOWN, ALABAMA
5023.
party of the second jart,

WITNESSETH, that the party of the first part, in'gonsideration of Ten Dollars and ether valuable consideration
paid by ihe party of the second part, does hereby grant and release unto the party of the second part, the heuws
or successors and assigne of the party of the second part forever,

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ALABAMA 35021, NOW BEING TRANSFER FROM SAMOA! bl
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OF GRANTOR SAMOA! M. RAMHARAACK SHALL BE TERMINATED,
REVOKED. NULL AND VOID, SO BE IT,

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